Official Form 1 (4/07)
                                        United States Bankruptcy Court
                                                Western District of Washington                                                                      Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Vernieuwe, Ross Jay


All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-0595
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
  3005 Forest Ridge Ct S
  Puyallup, WA
                                                                               ZIP Code                                                                                     ZIP Code
                                                                           98374
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Pierce
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):


                                                                               ZIP Code                                                                                     ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                  Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                           Health Care Business                           Chapter 7
                                                            Single Asset Real Estate as defined            Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                     in 11 U.S.C. § 101 (51B)                                                        of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                  Chapter 11
                                                            Railroad
                                                                                                           Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                      Stockbroker
                                                                                                           Chapter 13                       of a Foreign Nonmain Proceeding
                                                            Commodity Broker
    Partnership
                                                            Clearing Bank
    Other (If debtor is not one of the above entities,      Other                                                                      Nature of Debts
    check this box and state type of entity below.)                                                                                     (Check one box)
                                                                  Tax-Exempt Entity
                                                                 (Check box, if applicable)                Debts are primarily consumer debts,                  Debts are primarily
                                                            Debtor is a tax-exempt organization            defined in 11 U.S.C. § 101(8) as                     business debts.
                                                            under Title 26 of the United States            "incurred by an individual primarily for
                                                            Code (the Internal Revenue Code).              a personal, family, or household purpose."

                               Filing Fee (Check one box)                                       Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                       to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                     A plan is being filed with this petition.
                                                                                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                   THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-       1000-     5001-       10,001-        25,001-   100,001-     OVER
        49           99          199          999        5,000    10,000       25,000         50,000    100,000     100,000


Estimated Assets
        $0 to                      $10,001 to               $100,001 to              $1,000,001 to             More than
        $10,000                    $100,000                 $1 million               $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to               $100,001 to              $1,000,001 to             More than
        $50,000                    $100,000                 $1 million               $100 million              $100 million


                  Case 07-42611-BDL                         Doc 1          Filed 08/16/07                 Ent. 08/16/07 02:34:58                        Pg. 1 of 45
Official Form 1 (4/07)                                                                                                                                    FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Vernieuwe, Ross Jay
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X /s/ Travis A. Gagnier                                     August 16, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Travis A. Gagnier

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.

                Case 07-42611-BDL                     Doc 1        Filed 08/16/07               Ent. 08/16/07 02:34:58                        Pg. 2 of 45
Official Form 1 (4/07)                                                                                                                           FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                  Vernieuwe, Ross Jay
(This page must be completed and filed in every case)
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X /s/ Ross Jay Vernieuwe                                                             Printed Name of Foreign Representative
     Signature of Debtor Ross Jay Vernieuwe
                                                                                      Date
 X
     Signature of Joint Debtor                                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     August 16, 2007                                                                  copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X /s/ Travis A. Gagnier                                                              amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Travis A. Gagnier 26379
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Attorney at Law
     Firm Name
      P.O. Box 3949                                                                   Social Security number (If the bankrutpcy petition preparer is not
      Federal Way, WA 98063-3949                                                      an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address


      253-941-0234
     Telephone Number
                                                                                      Address
     August 16, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
               Case 07-42611-BDL                  Doc 1        Filed 08/16/07              Ent. 08/16/07 02:34:58                     Pg. 3 of 45
Official Form 1, Exhibit D (10/06)
                                                                   United States Bankruptcy Court
                                                                         Western District of Washington
  In re      Ross Jay Vernieuwe                                                                                       Case No.
                                                                                             Debtor(s)                Chapter     13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 15 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]

       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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                Case 07-42611-BDL                            Doc 1            Filed 08/16/07             Ent. 08/16/07 02:34:58        Pg. 4 of 45
Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                               /s/ Ross Jay Vernieuwe
                                                    Ross Jay Vernieuwe
 Date:          August 16, 2007




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                  Case 07-42611-BDL                                 Doc 1              Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 5 of 45
Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
  In re          Ross Jay Vernieuwe                                                                                  Case No.
                                                                                                                ,
                                                                                               Debtor
                                                                                                                     Chapter                   13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS               LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                 202,500.00


B - Personal Property                                             Yes                 3                  34,599.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 2                                         87,581.20


E - Creditors Holding Unsecured                                   Yes                 1                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 8                                         17,531.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                 3,041.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                 1,781.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            20


                                                                                Total Assets            237,099.00


                                                                                                 Total Liabilities             105,112.20




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                    Case 07-42611-BDL                            Doc 1            Filed 08/16/07        Ent. 08/16/07 02:34:58        Pg. 6 of 45
Official Form 6 - Statistical Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                        Western District of Washington
  In re            Ross Jay Vernieuwe                                                                                  Case No.
                                                                                                            ,
                                                                                          Debtor
                                                                                                                       Chapter                13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                  TOTAL                             0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                         3,041.00

              Average Expenses (from Schedule J, Line 18)                                                       1,781.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          4,001.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                           0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                    0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                              17,531.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                          17,531.00




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                      Case 07-42611-BDL                          Doc 1          Filed 08/16/07     Ent. 08/16/07 02:34:58         Pg. 7 of 45
Form B6A
(10/05)


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  In re          Ross Jay Vernieuwe                                                                                        Case No.
                                                                                                               ,
                                                                                             Debtor

                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                               Husband,     Current Value of
                                                                                   Nature of Debtor's           Wife,      Debtor's Interest in           Amount of
                 Description and Location of Property                              Interest in Property                     Property, without
                                                                                                                Joint, or Deducting                      Secured Claim
                                                                                                              Community             any Secured
                                                                                                                           Claim or Exemption

Residence located at 3005 Forest Ridge Ct S,                                      Fee simple                       -                  202,500.00                 87,581.20
Puyallup WA 98374 with a sale value of $225,000
and a liquidation value of $202,500 assuming 10%
for selling costs.




                                                                                                                Sub-Total >           202,500.00        (Total of this page)

                                                                                                                       Total >        202,500.00
  0     continuation sheets attached to the Schedule of Real Property                                           (Report also on Summary of Schedules)
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                    Case 07-42611-BDL                            Doc 1          Filed 08/16/07            Ent. 08/16/07 02:34:58           Pg. 8 of 45
Form B6B
(10/05)


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  In re          Ross Jay Vernieuwe                                                                                       Case No.
                                                                                                              ,
                                                                                             Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

1.     Cash on hand                                              Cash on Hand                                                        -                            50.00

2.     Checking, savings or other financial                      Checking Account held through Columbia Bank                         -                           100.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Couch, loveseat, tv, stereo, computer, dvd player,                  -                        1,800.00
       including audio, video, and                               dining table and chairs, beds, dressers, end tables,
       computer equipment.                                       and various small goods and items of low value

5.     Books, pictures and other art                             Books, pictures, and knicknacks                                     -                           500.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          1 Lot Mens Clothing                                                 -                           150.00

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                     Sub-Total >            2,600.00
                                                                                                                         (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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                    Case 07-42611-BDL                            Doc 1          Filed 08/16/07        Ent. 08/16/07 02:34:58                Pg. 9 of 45
Form B6B
(10/05)




  In re          Ross Jay Vernieuwe                                                                                       Case No.
                                                                                                              ,
                                                                                             Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                    (Continuation Sheet)

                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                           Retirement from State of Washington                                 -                      30,024.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                     Sub-Total >          30,024.00
                                                                                                                         (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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                  Case 07-42611-BDL                              Doc 1          Filed 08/16/07        Ent. 08/16/07 02:34:58               Pg. 10 of 45
Form B6B
(10/05)




  In re          Ross Jay Vernieuwe                                                                                       Case No.
                                                                                                              ,
                                                                                             Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                    (Continuation Sheet)

                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1995 Dodge Neon                                                      -                       1,175.00
    other vehicles and accessories.
                                                                 1976 Ford Truck                                                      -                          800.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                     Sub-Total >            1,975.00
                                                                                                                         (Total of this page)
                                                                                                                                          Total >         34,599.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                 (Report also on Summary of Schedules)
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                  Case 07-42611-BDL                              Doc 1          Filed 08/16/07        Ent. 08/16/07 02:34:58               Pg. 11 of 45
 Form B6C
 (4/07)


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   In re          Ross Jay Vernieuwe                                                                                    Case No.
                                                                                                               ,
                                                                                              Debtor

                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                      Specify Law Providing                   Value of           Current Value of
                    Description of Property                                              Each Exemption                       Claimed            Property Without
                                                                                                                             Exemption         Deducting Exemption
Real Property
Residence located at 3005 Forest Ridge Ct S,                                     Wash. Rev. Code §§ 6.13.010,                   125,000.00                202,500.00
Puyallup WA 98374 with a sale value of                                           6.13.020, 6.13.030
$225,000 and a liquidation value of $202,500
assuming 10% for selling costs.

Cash on Hand
Cash on Hand                                                                     Wash. Rev. Code § 6.15.010(3)(b)                    200.00                      50.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account held through Columbia Bank       Wash. Rev. Code § 6.15.010(3)(b)                                                   200.00                     100.00

Household Goods and Furnishings
Couch, loveseat, tv, stereo, computer, dvd                                       Wash. Rev. Code § 6.15.010(3)(a)                  2,700.00                  1,800.00
player, dining table and chairs, beds, dressers,
end tables, and various small goods and items
of low value

Books, Pictures and Other Art Objects; Collectibles
Books, pictures, and knicknacks                     Wash. Rev. Code § 6.15.010(2)                                                  1,500.00                     500.00

Wearing Apparel
1 Lot Mens Clothing                                                              Wash. Rev. Code § 6.15.010(1)                       400.00                     150.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Retirement from State of Washington                 Wash. Rev. Code § 6.15.020(3)                                                     100%                 30,024.00

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Dodge Neon                                                                  Wash. Rev. Code § 6.15.010(3)(c)                  1,250.00                  1,175.00

1976 Ford Truck                                                                  Wash. Rev. Code § 6.15.010(3)(c)                  1,250.00                     800.00




                                                                                                               Total:            162,524.00               237,099.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                   Case 07-42611-BDL                             Doc 1           Filed 08/16/07        Ent. 08/16/07 02:34:58            Pg. 12 of 45
 Official Form 6D (10/06)



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   In re           Ross Jay Vernieuwe                                                                                              Case No.
                                                                                                                      ,
                                                                                                     Debtor

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                            I    Q   U                      PORTION, IF
                                                                T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                   SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. 306338715                                                 Opened 9/30/94 Last Active 2/01/07                            E
                                                                      Deed of Trust                                                 D

Gmac Mort.                                                            Residence located at 3005 Forest Ridge
3451 Hammond Ave                                                      Ct S, Puyallup WA 98374 with a sale
                                                                      value of $225,000 and a liquidation
Waterloo, IA 50704
                                                                    - value of $202,500 assuming 10% for
                                                                      selling costs.
                                                                         Value $                              202,500.00                         87,581.20                   0.00
Account No.
                                                                         EXECUTIVE TRUSTEE SERVICES
Representing:                                                            15455 SAN FERNANDO MISSION BLV
Gmac Mort.                                                               STE 208
                                                                         MISSION HILLS, CA 91345


                                                                         Value $
Account No.
                                                                         FIRST AMERICAN TITLE INS. CO.
Representing:                                                            2101 FOURTH AVE STE 800
Gmac Mort.                                                               SEATTLE, WA 98121



                                                                         Value $
Account No.
                                                                         GMAC MORTGAGE CORPORATION
Representing:                                                            P.O. BOX 79135
Gmac Mort.                                                               PHOENIX, AZ 85062



                                                                         Value $
                                                                                                                            Subtotal
 1
_____ continuation sheets attached                                                                                                               87,581.20                   0.00
                                                                                                                   (Total of this page)




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                     Case 07-42611-BDL                           Doc 1           Filed 08/16/07               Ent. 08/16/07 02:34:58              Pg. 13 of 45
 Official Form 6D (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                             Case No.
                                                                                                                      ,
                                                                                                     Debtor


                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                                                                                         E
                                                                         GMAC MORTGAGE CORPORATION                                  D

Representing:                                                            P.O. BOX 780
Gmac Mort.                                                               WATERLOO, IA 50704-0780



                                                                         Value $
Account No.                                                           Paid through mortgage
                                                                      Property Taxes
PIERCE COUNTY BUDGET &                                                Residence located at 3005 Forest Ridge
FINANCE                                                               Ct S, Puyallup WA 98374 with a sale
                                                                      value of $225,000 and a liquidation
615 SOUTH 9TH ST STE 100
                                                                    - value of $202,500 assuming 10% for
TACOMA, WA 98405-4673                                                 selling costs.
                                                                         Value $                              202,500.00                              0.00                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                      0.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)
                                                                                                                             Total               87,581.20                   0.00
                                                                                                   (Report on Summary of Schedules)

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                     Case 07-42611-BDL                           Doc 1           Filed 08/16/07               Ent. 08/16/07 02:34:58              Pg. 14 of 45
Official Form 6E (4/07)



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  In re           Ross Jay Vernieuwe                                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0     continuation sheets attached
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                    Case 07-42611-BDL                           Doc 1           Filed 08/16/07        Ent. 08/16/07 02:34:58                  Pg. 15 of 45
 Official Form 6F (10/06)



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   In re           Ross Jay Vernieuwe                                                                                           Case No.
                                                                                                                          ,
                                                                                                        Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                                 T   J                                                         N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No. 25981284-511-4751                                                                                                                  T   T
                                                                                                                                                   E
                                                                                                                                                   D

Akron Billing Center
2620 Ridgewood Rd                                                                    -
Akron, OH 44313

                                                                                                                                                                               22.00
Account No. 11072787                                                                     Opened 5/01/06 Last Active 5/01/02
                                                                                         CollectionAttorney Cascade Eye Skin C
Allianceone Inc
717 Constitution Dr                                                                  -
Exton, PA 19341

                                                                                                                                                                               60.00
Account No.

Cardmember Services
PO BOX 21550                                                                         -
Tulsa, OK 74121

                                                                                                                                                                           4,113.00
Account No.                                                                              CENTRAL CREDIT SERVICE, INC.
                                                                                         P.O. BOX 15118
Representing:                                                                            JACKSONVILLE, FL 32239
Cardmember Services




                                                                                                                                             Subtotal
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_____ continuation sheets attached                                                                                                                                         4,195.00
                                                                                                                                   (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 16 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                              NCO                                                       E
                                                                                         4360 Dept 64                                              D
Representing:
Cardmember Services                                                                      Mail Drop 52
                                                                                         Atlanta, GA 30340




Account No. XX-XXXXXXX                                                                   Verizon Wireless West 2nds

CCA
P.O. BOX 556                                                                         -
NORWELL, MA 02061-0556

                                                                                                                                                                          795.00
Account No. 1526177                                                                      Opened 6/01/05 Last Active 2/01/05
                                                                                         Collection Urological Cons
Evergreen Financial
1214 N 16th Avenue                                                                   -
Yakima, WA 98902-3113

                                                                                                                                                                            83.00
Account No. 5678531                                                                      Verizon Wireless

FIRST REVENUE ASSURANCE
PO BOX 5818                                                                          -
DENVER, CO 80217

                                                                                                                                                                          746.00
Account No. 12-27-2005

FRANCISCAN HEALTH SYSTEMS
P.O. BOX 2197                                                                        -
TACOMA, WA 98401-2197

                                                                                                                                                                          755.00

           1
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        2,379.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 17 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                              St. Joseph Med Cntr                                       E
                                                                                         Dept # 3067                                               D
Representing:
FRANCISCAN HEALTH SYSTEMS                                                                PO Box 34936




Account No. 7791303                                                                      Opened 2/23/07
                                                                                         Collection 08 Hsbc Card Service
Fst Fin Mgmt
230 Peachtree St                                                                     -
Atlanta, GA 30303

                                                                                                                                                                        2,015.00
Account No. 10075

GEORGE KRICK, MD
1901 S Cedar ST                                                                      -
Tacoma, WA 98405

                                                                                                                                                                            48.00
Account No.                                                                              PNWC, INC
                                                                                         819 Pacfic Ave
Representing:                                                                            Tacoma, WA 98402
GEORGE KRICK, MD




Account No. 5488-9750-0252-2707                                                          CreditCard

Household Bank
PO BOX 80064                                                                         -
Salinas, CA 93912

                                                                                                                                                                        1,875.00

           2
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        3,938.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 18 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
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                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                              ACCOUNTS RECEIVABLE                                       E
                                                                                         MANAGEMENT                                                D
Representing:
Household Bank                                                                           P.O. BOX 129
                                                                                         THOROFARE, NJ 08086-0129




Account No.                                                                              Oxford Managment Services
                                                                                         PO BOX 18060
Representing:
                                                                                         Limeport, PA 18060
Household Bank




Account No. 33614225

IDT America
PO Box 27894                                                                         -
Newark, NJ 07101-7894

                                                                                                                                                                            47.00
Account No.

INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY                                                               -
OPERTAT
PO BOX 21126
PHILADELPHIA, PA 19114-0326                                                                                                                                           Unknown
Account No. 4120613038074685                                                             Opened 11/01/02 Last Active 6/26/06
                                                                                         CreditCard
Merrick Bank
Po Box 5000                                                                          -
Draper, UT 84020

                                                                                                                                                                        1,478.00

           3
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        1,525.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 19 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
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                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                              MERRICK BANK                                              E
                                                                                         P.O. BOX 9201                                             D
Representing:
Merrick Bank                                                                             OLD BETHPAGE, NY 11804




Account No.                                                                              Simm Assosiates, Inc
                                                                                         800 Pencader Drive
Representing:
                                                                                         Newark, DE 19702
Merrick Bank




Account No.                                                                              garnishment

NCO Fianncial Systems, Inc
33400 8th Ave S                                                                      -
Suite 100
Federal Way, WA 98003
                                                                                                                                                                        1,045.00
Account No.                                                                              PAYNE & HICKEL
                                                                                         30640 PACIFIC HWY S., STE C.
Representing:                                                                            FEDERAL WAY, WA 98003
NCO Fianncial Systems, Inc




Account No.

NORTHWEST EMERGENCY
PO BOX 5406                                                                          -
CINCINNATI, OH 45273-7942

                                                                                                                                                                            22.00

           4
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        1,067.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 20 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
                  AND MAILING ADDRESS                                            D   H                                                         N   L   S
                   INCLUDING ZIP CODE,
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                    (See instructions above.)                                    R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                              AURON bILLING CTR                                         E
                                                                                         PO BOX 740021                                             D
Representing:
NORTHWEST EMERGENCY                                                                      Cincinnati, OH 45274




Account No. 676170                                                                       Opened 8/01/05 Last Active 6/01/04
                                                                                         CollectionAttorney Krick George Dr
Pacific Northwest Coll
819 Pacific Ave                                                                      -
Tacoma, WA 98402

                                                                                                                                                                            57.00
Account No. 0030096421937900001                                                          Verizon Wireless

Pentagroup Financial, LLC
6341 Inducon Drive East                                                              -
Sanborn, NY 14132-9097

                                                                                                                                                                          795.00
Account No. 665310

PNWC, INC
819 Pacfic Ave                                                                       -
Tacoma, WA 98402

                                                                                                                                                                            47.00
Account No. 2219160                                                                      Opened 6/15/06 Last Active 11/01/05
                                                                                         Collection Med1 02 Western Wash
Pugt Snd Col
Pob 66995                                                                            -
Tacoma, WA 98464

                                                                                                                                                                            56.00

           5
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                      Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 21 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                     CREDITOR'S NAME,                                            O                                                             O   N   I
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                                                                                                                                               N   A
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Account No. 0301925                                                                                                                                E
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SJH PSYCH PROF SVC
1905 BRIDGEPORT WAY W #202                                                           -
Tacoma, WA 98466

                                                                                                                                                                            62.00
Account No. 0301925

SSH PSYCHO PROF SVC
1905 Bridgeport Way W # 202                                                          -
Tacoma, WA 98406

                                                                                                                                                                            62.00
Account No. 0526002837

St. Joseph Med Cntr
Dept # 3067                                                                          -
PO Box 34936
Seattle, WA 98124
                                                                                                                                                                        1,200.00
Account No.                                                                              NCO Financial Systems, Inc.
                                                                                         P.O. Box 15270
Representing:                                                                            Wilmington, DE 19850
St. Joseph Med Cntr




Account No.                                                                              PAYNE & HICKEL
                                                                                         30640 PACIFIC HWY S., STE C.
Representing:                                                                            FEDERAL WAY, WA 98003
St. Joseph Med Cntr




           6
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        1,324.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58       Pg. 22 of 45
 Official Form 6F (10/06) - Cont.




   In re            Ross Jay Vernieuwe                                                                                              Case No.
                                                                                                                           ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
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                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 0301925                                                                                                                                     E
                                                                                                                                                        D

St. Joseph Psychiatric Phys
1905 Bridgeport Way West                                                             -
Suite 202
Tacoma, WA 98466
                                                                                                                                                                                 62.00
Account No. 30096421937900001                                                            Opened 7/01/04 Last Active 4/01/05

Verizon Wireless
15900 Se Eastgate Way                                                                -
Bellevue, WA 98008

                                                                                                                                                                               611.00
Account No. 1500479688                                                                   Opened 8/01/00 Last Active 12/28/06
                                                                                         CreditCard
Wash Mutual/Providian
Po Box 9180                                                                          -
Pleasanton, CA 94566

                                                                                                                                                                             1,475.00
Account No.                                                                              Ronson and Miglliaccio, LLC
                                                                                         808 Landmark Drive, Ste. 227
Representing:                                                                            Glen Burnie, MD 21061
Wash Mutual/Providian




Account No.




           7
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             2,148.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 17,531.00


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                     Case 07-42611-BDL                           Doc 1               Filed 08/16/07                Ent. 08/16/07 02:34:58            Pg. 23 of 45
Form B6G
(10/05)


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  In re             Ross Jay Vernieuwe                                                                                Case No.
                                                                                                           ,
                                                                                          Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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                     Case 07-42611-BDL                          Doc 1           Filed 08/16/07     Ent. 08/16/07 02:34:58              Pg. 24 of 45
Form B6H
(10/05)


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  In re          Ross Jay Vernieuwe                                                                             Case No.
                                                                                                         ,
                                                                                          Debtor

                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors

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                  Case 07-42611-BDL                             Doc 1           Filed 08/16/07     Ent. 08/16/07 02:34:58   Pg. 25 of 45
Official Form 6I (10/06)


  In re       Ross Jay Vernieuwe                                                                      Case No.
                                                                           Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                    DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                         AGE(S):
        Single                                 None.

 Employment:                                         DEBTOR                                                      SPOUSE
 Occupation                           Maintenance Tech
 Name of Employer                     PIERCE COUNTY BUDGET & FINANCE
 How long employed                    16 years
 Address of Employer                  615 SOUTH 9TH ST STE 100
                                      TACOMA, WA 98405-4673
 INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                   SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                         $         4,001.00       $             N/A
 2. Estimate monthly overtime                                                                          $             0.00       $             N/A

 3. SUBTOTAL                                                                                           $         4,001.00       $             N/A

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                              $             858.00     $             N/A
     b. Insurance                                                                                      $               5.00     $             N/A
     c. Union dues                                                                                     $              54.00     $             N/A
     d. Other (Specify):    401k                                                                       $             143.00     $             N/A
                                                                                                       $               0.00     $             N/A

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                     $         1,060.00       $             N/A

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                    $         2,941.00       $             N/A

 7. Regular income from operation of business or profession or farm (Attach detailed statement)        $               0.00     $             N/A
 8. Income from real property                                                                          $               0.00     $             N/A
 9. Interest and dividends                                                                             $               0.00     $             N/A
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use
      or that of dependents listed above                                                               $               0.00     $             N/A
 11. Social security or government assistance
 (Specify):                                                                                            $               0.00     $             N/A
                                                                                                       $               0.00     $             N/A
 12. Pension or retirement income                                                                      $               0.00     $             N/A
 13. Other monthly income
 (Specify):        Amortized tax refund                                                                $             100.00     $             N/A
                                                                                                       $               0.00     $             N/A

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                    $             100.00     $             N/A

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                      $         3,041.00       $             N/A

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                     $            3,041.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                 (Report also on Summary of Schedules and, if applicable, on
                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this
 document:
              None




                Case 07-42611-BDL              Doc 1       Filed 08/16/07          Ent. 08/16/07 02:34:58               Pg. 26 of 45
Official Form 6J (10/06)


 In re      Ross Jay Vernieuwe                                                               Case No.
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
 1. Rent or home mortgage payment (include lot rented for mobile home)                                     $                    0.00
  a. Are real estate taxes included?                           Yes X             No
  b. Is property insurance included?                           Yes               No X
 2. Utilities:      a. Electricity and heating fuel                                                        $                  185.00
                    b. Water and sewer                                                                     $                   80.00
                    c. Telephone                                                                           $                   56.00
                    d. Other Cable tv and Internet                                                         $                  100.00
 3. Home maintenance (repairs and upkeep)                                                                  $                   75.00
 4. Food                                                                                                   $                  400.00
 5. Clothing                                                                                               $                   75.00
 6. Laundry and dry cleaning                                                                               $                  100.00
 7. Medical and dental expenses                                                                            $                  100.00
 8. Transportation (not including car payments)                                                            $                  300.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                       $                  150.00
 10. Charitable contributions                                                                              $                    0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                    a. Homeowner's or renter's                                                             $                   50.00
                    b. Life                                                                                $                    0.00
                    c. Health                                                                              $                    0.00
                    d. Auto                                                                                $                  110.00
                    e. Other                                                                               $                    0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
                  (Specify)                                                                                $                    0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
 plan)
                    a. Auto                                                                                $                    0.00
                    b. Other                                                                               $                    0.00
                    c. Other                                                                               $                    0.00
                    d. Other                                                                               $                    0.00
 14. Alimony, maintenance, and support paid to others                                                      $                    0.00
 15. Payments for support of additional dependents not living at your home                                 $                    0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)          $                    0.00
 17. Other                                                                                                 $                    0.00
     Other                                                                                                 $                    0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                       $                1,781.00
 and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
 following the filing of this document:
       None
 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                      $                3,041.00
 b. Average monthly expenses from Line 18 above                                                            $                1,781.00
 c. Monthly net income (a. minus b.)                                                                       $                1,260.00




              Case 07-42611-BDL          Doc 1      Filed 08/16/07        Ent. 08/16/07 02:34:58           Pg. 27 of 45
Official Form 6-Declaration. (10/06)

                                                                   United States Bankruptcy Court
                                                                         Western District of Washington
  In re      Ross Jay Vernieuwe                                                                                       Case No.
                                                                                             Debtor(s)                Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                 22 sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date August 16, 2007                                                           Signature    /s/ Ross Jay Vernieuwe
                                                                                             Ross Jay Vernieuwe
                                                                                             Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07           Ent. 08/16/07 02:34:58      Pg. 28 of 45
Official Form 7
(04/07)


                                                                   United States Bankruptcy Court
                                                                         Western District of Washington
  In re      Ross Jay Vernieuwe                                                                                    Case No.
                                                                                              Debtor(s)            Chapter     13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor.
11 U.S.C. § 101.

                                                                __________________________________________

                  1. Income from employment or operation of business
    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
                  for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
                  joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE
                           $30,513.00                                2007 YTD Wages from Pierce County
                           $48,178.00                                2006 Total Wages from Pierce County
                           $46,314.00                                2005 Total Wages from Pierce County




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                  Case 07-42611-BDL                         Doc 1            Filed 08/16/07           Ent. 08/16/07 02:34:58    Pg. 29 of 45
                                                                                                                                                            2

                2. Income other than from employment or operation of business
    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE

                3. Payments to creditors
    None        Complete a. or b., as appropriate, and c.

                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or
                services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate
                value of all property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were
                made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
                approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
                payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                     AMOUNT PAID              OWING

    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
                transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT
                                                                                   DATES OF                           PAID OR
                                                                                   PAYMENTS/                        VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                       TRANSFERS             OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
                of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT              AMOUNT PAID              OWING

                4. Suits and administrative proceedings, executions, garnishments and attachments
    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
                of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION            DISPOSITION

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
      BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE              PROPERTY
 NCO Fianncial Systems, Inc                                                                           garnishment
 33400 8th Ave S
 Suite 100
 Federal Way, WA 98003




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07        Ent. 08/16/07 02:34:58    Pg. 30 of 45
                                                                                                                                                              3

                5. Repossessions, foreclosures and returns
    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                the spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                    PROPERTY
 Gmac Mort.                                                             9/7/07                          Residence located at
 3451 Hammond Ave                                                                                       3005 Forest Ridge Ct S
 Waterloo, IA 50704                                                                                     Puyallup WA 98374
                                                                                                        $227,942.00

                6. Assignments and receiverships
    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
                a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

                7. Gifts
    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

                8. Losses
    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07       Ent. 08/16/07 02:34:58      Pg. 31 of 45
                                                                                                                                                              4

                9. Payments related to debt counseling or bankruptcy
    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
                immediately preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                      AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER               OR DESCRIPTION AND VALUE
     OF PAYEE                                                                            THAN DEBTOR                          OF PROPERTY
 Travis A. Gagnier                                                                Prior to Filing                     $810.00
 Attorney at Law
 P.O. Box 3949
 Federal Way, WA 98063-3949

                10. Other transfers
    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

                11. Closed financial accounts
    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
                filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

                12. Safe deposit boxes
    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION            DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS             SURRENDER, IF ANY

                13. Setoffs
    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF



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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07        Ent. 08/16/07 02:34:58      Pg. 32 of 45
                                                                                                                                                            5

                14. Property held for another person
    None        List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                     LOCATION OF PROPERTY

                15. Prior address of debtor
    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                           DATES OF OCCUPANCY

                16. Spouses and Former Spouses
    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
                Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
                the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
                debtor in the community property state.

 NAME

                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
                liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
                if known, the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                 LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                 LAW

    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                       STATUS OR DISPOSITION




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07     Ent. 08/16/07 02:34:58       Pg. 33 of 45
                                                                                                                                                              6

                18 . Nature, location and name of business
    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
                and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
                partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
                six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                equity securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
                six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
                six years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                            BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                    NATURE OF BUSINESS            ENDING DATES

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements
    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
                supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
                books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
                records of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                         ADDRESS

    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
                was issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                  DATE ISSUED




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07   Ent. 08/16/07 02:34:58           Pg. 34 of 45
                                                                                                                                                               7

                20. Inventories
    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
                and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders
    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
                controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders
    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
                commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
                immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation
    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
                compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
                preceding the commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

                24. Tax Consolidation Group.
    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
                group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

                25. Pension Funds.
    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as
                an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07          Ent. 08/16/07 02:34:58      Pg. 35 of 45
                                                                                                                                                 8




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 36 of 45
                                                                                                                                                                        9

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date August 16, 2007                                                           Signature    /s/ Ross Jay Vernieuwe
                                                                                             Ross Jay Vernieuwe
                                                                                             Debtor
                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07           Ent. 08/16/07 02:34:58            Pg. 37 of 45
                                                                   United States Bankruptcy Court
                                                                         Western District of Washington
  In re      Ross Jay Vernieuwe                                                                                      Case No.
                                                                                             Debtor(s)               Chapter    13


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                        $               1,800.00
              Prior to the filing of this statement I have received                                              $                   810.00
              Balance Due                                                                                        $                   990.00

2.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 In all Chapter 13 cases, the attorney fees and costs shall be actual time and costs expended. A separate
                 motion shall be brought to establish the exact amount. Parties in interest should refer to the plan for more
                 information.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions
               or any other adversary proceeding or matter not set forth above. Representation is limited to and on the terms
               of the fee agreement between the Debtor(s) and counsel; a copy of which will be produced if requested by the
               trustee or judge.
                                                                                     CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       August 16, 2007                                                                /s/ Travis A. Gagnier
                                                                                             Travis A. Gagnier
                                                                                             Attorney at Law
                                                                                             P.O. Box 3949
                                                                                             Federal Way, WA 98063-3949
                                                                                             253-941-0234




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07          Ent. 08/16/07 02:34:58      Pg. 38 of 45
B 201 (04/09/06)

                                                         UNITED STATES BANKRUPTCY COURT
                                                         WESTERN DISTRICT OF WASHINGTON

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE

                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
             all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
             not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
             you decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some
cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the
court to decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does,
the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or
from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
             administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in
the Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured

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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 39 of 45
B 201 (04/09/06)

obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Travis A. Gagnier                                                                           X /s/ Travis A. Gagnier                     August 16, 2007
Printed Name of Attorney                                                                       Signature of Attorney                     Date
Address:
P.O. Box 3949
Federal Way, WA 98063-3949
253-941-0234

                                                                                 Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Ross Jay Vernieuwe                                                                          X /s/ Ross Jay Vernieuwe                    August 16, 2007
 Printed Name(s) of Debtor(s)                                                                  Signature of Debtor                       Date

 Case No. (if known)                                                                         X
                                                                                                 Signature of Joint Debtor (if any)      Date




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07         Ent. 08/16/07 02:34:58            Pg. 40 of 45
                                                                   United States Bankruptcy Court
                                                                         Western District of Washington
  In re      Ross Jay Vernieuwe                                                                                    Case No.
                                                                                             Debtor(s)             Chapter     13




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: August 16, 2007                                                          /s/ Ross Jay Vernieuwe
                                                                                Ross Jay Vernieuwe
                                                                                Signature of Debtor




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               Case 07-42611-BDL                            Doc 1            Filed 08/16/07           Ent. 08/16/07 02:34:58    Pg. 41 of 45
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                        ACCOUNTS RECEIVABLE MANAGEMENT
                        P.O. BOX 129
                        THOROFARE NJ 08086-0129


                        Akron Billing Center
                        2620 Ridgewood Rd
                        Akron OH 44313


                        Allianceone Inc
                        717 Constitution Dr
                        Exton PA 19341


                        AURON bILLING CTR
                        PO BOX 740021
                        Cincinnati OH 45274


                        Cardmember Services
                        PO BOX 21550
                        Tulsa OK 74121


                        CCA
                        P.O. BOX 556
                        NORWELL MA 02061-0556


                        CENTRAL CREDIT SERVICE, INC.
                        P.O. BOX 15118
                        JACKSONVILLE FL 32239


                        Evergreen Financial
                        1214 N 16th Avenue
                        Yakima WA 98902-3113


                        EXECUTIVE TRUSTEE SERVICES
                        15455 SAN FERNANDO MISSION BLV
                        STE 208
                        MISSION HILLS CA 91345


                        FIRST AMERICAN TITLE INS. CO.
                        2101 FOURTH AVE STE 800
                        SEATTLE WA 98121


                        FIRST REVENUE ASSURANCE
                        PO BOX 5818
                        DENVER CO 80217



    Case 07-42611-BDL   Doc 1   Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 42 of 45
                    FRANCISCAN HEALTH SYSTEMS
                    P.O. BOX 2197
                    TACOMA WA 98401-2197


                    Fst Fin Mgmt
                    230 Peachtree St
                    Atlanta GA 30303


                    GEORGE KRICK, MD
                    1901 S Cedar ST
                    Tacoma WA 98405


                    Gmac Mort.
                    3451 Hammond Ave
                    Waterloo IA 50704


                    GMAC MORTGAGE CORPORATION
                    P.O. BOX 79135
                    PHOENIX AZ 85062


                    GMAC MORTGAGE CORPORATION
                    P.O. BOX 780
                    WATERLOO IA 50704-0780


                    Household Bank
                    PO BOX 80064
                    Salinas CA 93912


                    IDT America
                    PO Box 27894
                    Newark NJ 07101-7894


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPERTAT
                    PO BOX 21126
                    PHILADELPHIA PA 19114-0326


                    Merrick Bank
                    Po Box 5000
                    Draper UT 84020


                    MERRICK BANK
                    P.O. BOX 9201
                    OLD BETHPAGE NY 11804



Case 07-42611-BDL   Doc 1   Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 43 of 45
                    NCO
                    4360 Dept 64
                    Mail Drop 52
                    Atlanta GA 30340


                    NCO Fianncial Systems, Inc
                    33400 8th Ave S
                    Suite 100
                    Federal Way WA 98003


                    NCO Financial Systems, Inc.
                    P.O. Box 15270
                    Wilmington DE 19850


                    NORTHWEST EMERGENCY
                    PO BOX 5406
                    CINCINNATI OH 45273-7942


                    Oxford Managment Services
                    PO BOX 18060
                    Limeport PA 18060


                    Pacific Northwest Coll
                    819 Pacific Ave
                    Tacoma WA 98402


                    PAYNE & HICKEL
                    30640 PACIFIC HWY S., STE C.
                    FEDERAL WAY WA 98003


                    Pentagroup Financial, LLC
                    6341 Inducon Drive East
                    Sanborn NY 14132-9097


                    PIERCE COUNTY BUDGET & FINANCE
                    615 SOUTH 9TH ST STE 100
                    TACOMA WA 98405-4673


                    PNWC, INC
                    819 Pacfic Ave
                    Tacoma WA 98402


                    Pugt Snd Col
                    Pob 66995
                    Tacoma WA 98464


Case 07-42611-BDL   Doc 1   Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 44 of 45
                    Ronson and Miglliaccio, LLC
                    808 Landmark Drive, Ste. 227
                    Glen Burnie MD 21061


                    Simm Assosiates, Inc
                    800 Pencader Drive
                    Newark DE 19702


                    SJH PSYCH PROF SVC
                    1905 BRIDGEPORT WAY W #202
                    Tacoma WA 98466


                    SSH PSYCHO PROF SVC
                    1905 Bridgeport Way W # 202
                    Tacoma WA 98406


                    St. Joseph Med Cntr
                    Dept # 3067
                    PO Box 34936
                    Seattle WA 98124


                    St. Joseph Med Cntr
                    Dept # 3067
                    PO Box 34936


                    St. Joseph Psychiatric Phys
                    1905 Bridgeport Way West
                    Suite 202
                    Tacoma WA 98466


                    Verizon Wireless
                    15900 Se Eastgate Way
                    Bellevue WA 98008


                    Wash Mutual/Providian
                    Po Box 9180
                    Pleasanton CA 94566




Case 07-42611-BDL   Doc 1   Filed 08/16/07   Ent. 08/16/07 02:34:58   Pg. 45 of 45
